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                       THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

KIMBERLY ROQUEMORE,                      )   CASE NO.
Individually and as the Administratrix   )
of the Estate of Maalik Roquemore,       )   JUDGE
Deceased                                 )
c/o David Malik, Esq.                    )
31320 Solon Road, Unit 19                )   COMPLAINT
Solon, Ohio 44139                        )
                                         )   JURY DEMAND ENDORSED
             Plaintiff,                  )   HEREON
                                         )
      -vs-                               )
                                         )
CUYAHOGA METROPOLITAN                    )
HOUSING AUTHORITY                        )
8120 Kinsman Road                        )
Cleveland, OH 44104                      )
                                         )
and                                      )
                                         )
CUYAHOGA METROPOLITAN
                                         )
HOUSING AUTHORITY POLICE
                                         )
DEPARTMENT
                                         )
5715 Woodland Avenue
                                         )
Cleveland, Ohio 44104
                                         )
and                                      )
                                         )
ANDRÉS GONZÁLEZ, CHIEF,                  )
CUYAHOGA METROPOLITAN                    )
HOUSING AUTHORITY POLICE                 )
DEPARTMENT, Individually and in his      )
Official Capacity as Chief of Cuyahoga   )
Metropolitan Housing Authority Police    )
Department                               )
5715 Woodland Avenue                     )
Cleveland, Ohio 4410                     )
                                         )
and                                      )
                                         )
VICTOR MCDOWELL, DEPUTY                  )
CHIEF OF POLICE, CUYAHOGA                )
METROPOLITAN HOUSING                     )
AUTHORITY POLICE                         )
DEPARTMENT, Individually and in his      )
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Official Capacity as an Employee of the   )
Cuyahoga Metropolitan Housing             )
Authority Police Department               )
5715 Woodland Avenue                      )
Cleveland, Ohio 44104                     )
                                          )
and                                       )
                                          )
DESMOND RAGLAND                           )
C/O CUYAHOGA METROPOLITAN                 )
HOUSING AUTHORITY POLICE                  )
DEPARTMENT, Individually and in his       )
Official Capacity as an Employee of the   )
Cuyahoga Metropolitan Housing             )
Authority Police Department               )
5715 Woodland Avenue                      )
Cleveland, Ohio 44104                     )
                                          )
and
                                          )
THOMAS BURDYSHAW,                         )
COMMANDER OF FIELD                        )
OPERATIONS, CUYAHOGA                      )
METROPOLITAN HOUSING                      )
AUTHORITY POLICE                          )
DEPARTMENT, Individually and in his       )
Official Capacity as an Employee of the   )
Cuyahoga Metropolitan Housing             )
Authority Police Department               )
5715 Woodland Avenue                      )
Cleveland, Ohio 44104                     )
                                          )
and                                       )
                                          )
JOHN SMIDDY, FIELD TRAINING               )
OFFICER PROGRAM SUPERVISOR,               )
CUYAHOGA METROPOLITAN                     )
HOUSING AUTHORITY POLICE                  )
DEPARTMENT, Individually and in his       )
Official Capacity as an Employee of the   )
Cuyahoga Metropolitan Housing             )
Authority Police Department               )
5715 Woodland Avenue                      )
Cleveland, Ohio 44104                     )
and                                       )
                                          )
                                          )
                                          2
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JEFFERY PATTERSON,                             )
CHIEF EXECUTIVE OFFICER AND                    )
SAFETY DIRECTOR, CUYAHOGA                      )
METROPOLITAN HOUSING                           )
AUTHORITY, Individually and in his             )
Official Capacity as an Employee of the        )
Cuyahoga Metropolitan Housing                  )
Authority                                      )
8120 Kinsman Road                              )
Cleveland, Ohio 44104                          )
                                               )
and                                            )
JOHN DOES (I-X)                                )
(“Names Unknown”)                              )
[Persons whose actual names are unknown        )
and whose names and addresses Plaintiffs       )
could not discover]                            )
                                               )
              Defendants.                      )

                                      INTRODUCTION

       1.     This case challenges the September 5, 2022, violation of Maalik Roquemore’s

(“Maalik”) civil rights under 42 U.S.C. § 1983 and the violations of the Americans with

Disabilities Act, 42 U.S.C. § 12101 by the Cuyahoga Metropolitan Housing Authority (“CHMA”),

Cuyahoga Metropolitan Housing Authority Police (“CMHA PD”), Officer Desmond Ragland

(“Officer Ragland”), and the remaining Defendants.

       2.     Officer Ragland senselessly shot Maalik twice, killing him. At the time of his death,

Maalik was a thirty-two (32) year old resident of CMHA and a nursing student at Cleveland State

University.

       3.     Maalik also suffered from schizophrenia and Post-Traumatic Stress Disorder

(“PTSD”), which led him to experience an overt, acute mental health crisis resulting in publicly

displayed abnormal behavior On September 5, 2022, shortly after midnight. Officer Ragland’s

response to Maalik’s abnormal and atypical behavior and mental health crisis was to use deadly

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force.

         4.     This case additionally challenges the inadequate policymaking, training,

monitoring and supervision of Officer Ragland, a relatively newly hired/probationary CMHA PD

employee. Officer Ragland was inadequately trained due to inadequate CMHA and CMHA PD

policies and customs which were each deliberately indifferent and a moving force behind the

deprivation of Maalik’s clearly established constitutional rights.

         5.     At the time of Maalik’s death, Officer Ragland was not adequately trained to be

operating alone on CMHA properties. Inadequate Officer Field Training, CMHA and CMHA PD

customs, practices, policies, and procedures caused the premature placement of the inadequately

trained Officer Ragland, into the one-man CMHA PD car, without an adequately trained Field

Training Officer.

         6.     CMHA PD took a shortcut and partially “field trained” Officer Ragland for only

fifteen (15) weeks out of the mandatory twenty-four (24) weeks! CMHA and CMHA PD condoned

the inadequately trained Officer Ragland to work on the streets of CMHA properties, unmonitored

and unsupervised. No Defendant took any action to change or correct this fatal assignment of

Officer Ragland to the streets of CMHA.

         7.     The inadequate training includes but is not limited to, a failure to adequately train

officers in crisis intervention techniques, communication techniques, adequate de-escalation

techniques, adequate scene diagnosis, how to safely manage a citizen with exaggerated gestures,

and effective less than lethal tactics.

         8.     On September 5, 2022, the inadequately trained Officer Ragland acted deliberately

indifferent to Maalik’s rights, by failing to de-escalate with less than lethal force upon encountering

Maalik who was in a mental health crisis. Officer Ragland’s failed use of less than lethal force,


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due to his inadequate training, then led Officer Ragland to use lethal force. Officer Ragland was

so inadequately trained, that when he attempted to use a Taser effectively, he shot himself in the

left index finger with his own Taser barb.

       9.      When deploying his Taser, Officer Ragland tased himself with one Taser barb,

causing a self-inflicted wound to his left index finger. Maalik was struck by the second barb

containing an electrical charge. Maalik did not receive the full effect of being struck by two barbs.

       10.     As Maalik retreated away from Officer Ragland upon being tased in the left chest,

Officer Ragland dropped his Taser. Maalik continued to move and retreat around the police car.

Maalik retreated into a grassy area of the housing complex, away from Officer Ragland.

       11.     The unarmed Maalik then again approached Officer Ragland. This time, Officer

Ragland pulled his semi-automatic 9 mm CMHA PD issued handgun, deliberately disregarding

other less than lethal de-escalation techniques, such as using the “stun mode” of the Taser, his ASP

baton, pepper spray, or non-lethal hand to hand techniques which were all available to him at that

moment in time.

       12.     Officer Ragland acted with deliberate indifference as he unlawfully, unreasonably,

and unnecessarily and seized Maalik by Tasing him and then gratuitously shooting the unarmed

Maalik twice, causing him to ultimately pass away at Fairview Hospital.

       13.     In this case, prior to and thereafter, Defendants condoned, encouraged and

knowingly acquiesced with CMHA, CMHA PD and their respective policymaker’s policy,

customs, and practices decision to condoned Officer Ragland’s behavior, incomplete Field

Training from a qualified Field Training Officer (“FTO”) and also, incomplete Crisis Intervention

Team Training (“CITT”) which is recognized in community policing as necessary knowledge and

a necessary skill for officers when encountering CMHA residents in a mental crisis.


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       14.     CMHA, CMHA PD and their respective policymakers named herein condoned,

ratified and acquiesced to permit the incomplete training of Officer Ragland. The policymakers

identified in this case were on actual or constructive notice that the omission of a complete field

training program and CITT for officers and Officer Ragland would violate citizens’ civil rights

such as those of CMHA resident, Maalik’s constitutional rights.

                                 JURISDICTION AND VENUE

        15.    This claim is brought under the Civil Rights Act of 1871, 42 U.S.C. § 1983.

        16.    Jurisdiction of claims arising from Defendants’ violations of the Civil Rights Act is

conferred upon this Court by 28 U.S.C. § 1331, 1343(3)-(4).

        17.    Jurisdiction over the state law claims is conferred by 28 U.S.C. § 1367.

        18.    Venue is proper in this division.

                                             PARTIES

        19.    By entry of the Probate Court of Cuyahoga County, dated June 15, 2023, Kimberly

Roquemore (“Ms. Roquemore”) is the duly appointed and authorized as the Administratrix of the

Estate of Maalik Roquemore. A true and accurate copy of this entry is attached hereto as Exhibit

“A.”

        20.    Maalik died on September 5, 2022, at age 32, in Cuyahoga County, Ohio and is

survived by his mother, Ms. Roquemore, who, as a result of the decedent’s death, has sustained

emotion and pecuniary injury.

        21.    Officer Ragland was, relevant to this action, a law enforcement officer employed

by the CMHA PD. Officer Ragland is a “person” under 42 U.S.C. § 1983 and always acted under

color of law relevant to this case. He is sued individually and in his official capacity as an employee

of CMHA PD. Officer Ragland was personally involved in the deprivation of Maalik’s federal


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rights.

           22.   CMHA PD Chief Andrés González (“Chief González”) was, relevant to this action,

a final policy maker of the CMHA PD. Chief González was personally involved, condoned, and

approved the final policy content of CMHA PD policies, practices, customs and procedures. Chief

González is a “person” under 42 U.S.C. § 1983 and acted under color of law.

           23.   As Chief of Police, he is responsible for directing, approving, and administering

police and safety staff and overseeing CMHA community safety activities. (Policy and Procedure

Manual Chapter 1.1). Chief González’ duties extend to operating consistently with CMHA’s

“Strategic Plan” of safety in effect in 2022.

           24.   Chief González is being sued in his individual and official capacity as an employee

of CMHA PD. Chief González was personally involved in the deprivation of Maalik’s federal

rights by his approval of the decision to shorten and withdraw a Field Training Officer from Officer

Ragland’s’ field training.

           25.   CMHA is a state actor as well as a federally and Cuyahoga County funded

organization. CMHA’s mission according to its written and publicly published “Strategic Plan” is

to provide safe housing and safe police services to its residents. As community partners, CMHA

and CMHA PD are jointly and equally accountable for developing, implementing and approving

police crisis intervention training policy and policymaking. Inadequate policies of CMHA and

CMHA PD overlap in this context. CMHA is a “person” under 42 U.S.C. § 1983. CMHA acts

under the color of law.

          26.    A CMHA Administrative Order, approved by Resolution of the CMHA Board of

Commissioners, established the CMHA Department of Police and Security. CMHA is a public

entity within the meaning of the Americans with Disabilities Act (ADA), 42 U.S.C. § 12131.


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CMHA is essentially a political subdivision.

        27.    CMHA is a final policymaker. CMHA and CMHA PD have, however, each

developed inadequate policies, customs, practices, and procedures that are not consistent with

CMHA’s 2018-2023 Strategic Plan. As such, CMHA and CMHA PD have failed to make

“reasonable accommodations” for mentally ill residents in a crisis such as Maalik, by failing to

employ adequate number of CITT police officers to meet the needs of CMHA residents who

experienced a mental crisis, such as Maalik. Educating police officers in adequate crisis

intervention would not have placed CMHA or CMHA PD under “undue financial and

administrative burden”.

        28.    The training for CMHA personnel and CMHA PD officers is free through the

A.D.A.M.H.S. Board of Cuyahoga County. CMHA and CMHA PD had personal, actual and/or

constructive notice of CMHA PD Officer Field Training Program staffing and training deficiencies

in its police department as evidenced by a CMHA July 8, 2022, evaluation of Officer Ragland

which reflects no 40-hour CITT was provided to Officer Ragland as his FTO was removed by

CMHA PD from his field training. CMHA and CMHA PD also condoned and acquiesced in their

custom and policy of not only failing to completely train officers but, failed in maintaining an

adequate number of CITT officers and CITT programing for officers.

        29.    CMHA PD is a state certified police force. It operates with the approval of and

under the laws of the State of Ohio, federal law, codified ordinance, and statutes. CMHA PD are

“persons” under 42 U.S.C. § 1983, and at all times relevant to this case acted under color of law.

        30.    CMHA PD is a public entity within the meaning of the Americans with Disabilities

Act, 42 U.S.C. §12131. CMHA PD is a final policymaker of CMHA police policies and

procedures.


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        31.     The CMHA PD and its agents condoned and approved the reduction of FTO

participation to the detriment of CMHA residents. CMHA PD is a final policymaker as is evidenced

by a CMHA PD July 8, 2022, memo, regarding Officer Ragland which demonstrates a policy,

custom and practice of failing to completely train officers.

        32.    Victor McDowell (“Deputy Chief McDowell”) is the Deputy Chief of CMHA PD.

McDowell is a “person” under 42 U.S.C. § 1983. Deputy Chief McDowell was at all times herein

acting under “color of law.”

        33.    Deputy Chief McDowell is a final policymaker for CMHA PD policies, customs,

practices and procedures. This is reflected in the July 8, 2022, Field Commander memorandum of

Officer Ragland (#57). Deputy Chief McDowell was personally involved in the creation and

approval of the final policy content of CMHA PD training, policies, and procedures.

        34.    Deputy Chief McDowell is a final policymaker of CMHA PD policies and

procedures, and he condoned and approved reduction of the Field Training Officer program.

Deputy Chief McDowell was personally involved in the deprivation of Maalik’s federal rights as

is evidenced by a CMHA PD evaluation of Officer Ragland.

        35.    Thomas M. Burdyshaw (“Police Commander Burdyshaw”) is a CMHA PD

Commander. He is a “person” under 42 U.S.C. § 1983. Police Commander Burdyshaw was at all

times herein acting under “color of law.”

        36.    Police Commander Burdyshaw was a final policymaker personally involved in the

creation and approval of the final policy content of CMHA PD training, policies, and procedures.

        37.    Police Commander Burdyshaw is a final policymaker of CMHA PD policies and

procedures, and he condoned and approved reduction of the Field Training Officer program. Police

Commander Burdyshaw was personally involved in the deprivation of Maalik’s federal rights as


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is evidenced by the July 8, 2022, evaluation of Officer Ragland.

        38.    John Smiddy (“Police FTO Smiddy”) is the CMHA PD Field Training Officer and

Program Supervisor. Police Field Training Officer Smiddy is a “person” under 42 U.S.C. § 1983.

Smiddy was at all times herein acting under “color of law.”

        39.      Police FTO Smiddy was a final policymaker personally involved in the creation

and approval of the final policy content of CMHA PD training, policies, and procedures.

        40.    Police FTO Smiddy is a final policymaker of CMHA PD policies and procedures,

and he condoned and approved reduction of the FTO program. Police FTO Smiddy was personally

involved in the deprivation of Maalik’s federal rights as is evidenced by the July 8, 2022,

evaluation of Officer Ragland.

        41.    Jeffery Patterson (“CEO Patterson”) is the Chief Executive Officer and Safety

Director for CMHA. CEO Patterson is a “person” under 42 U.S.C. § 1983 and was at all times

herein acting under “color of law.”

        42.    CEO Patterson was a final policymaker personally involved in the creation and

approval of the final policies, customs, practices, procedures and content of CMHA and CMHA

PD matters related to CMHA’s “Strategic Plan”, CMHA safety planning and oversight of the

CMHA PD training.

        43.     CEO Patterson condoned and/or through inaction personally and officially,

constructively and/or directly ratified the deficiencies of the CMHA PD Field Training Officer

program which were a cause of the death of Maalik. CEO Patterson was personally involved in

the deprivation of Maalik’s federal rights.

        44.    John Does (I-X), are unknown individuals, business entities, or organizations who

violated Maalik’s constitutional rights. The identities of these individuals or entities are not known


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to the Plaintiff who consequently sue these Defendants by their fictitious names. Plaintiff will seek

leave to amend this Complaint to state the true names and capacities of these fictitiously named

Defendants when they have been ascertained.

                                              FACTS

               BRIEF HISTORY OF MAALIK ROQUEMORE AND FAMILY

        45.    Plaintiff adopts and incorporates herein by reference all claims, counts, allegations

and averments contained in this Complaint, whether stated before or after this claim or count, as

if same were fully rewritten herein.

        46.    Maalik was born on January 21, 1990. He was a 32-year-old Black male pursuing

a Bachelor of Science in Nursing from Cleveland State University (“CSU”). Maalik’s career goal

was to become a Registered Nurse specializing in Behavioral Health to help others living with

mental health matters to achieve their highest quality of life. Maalik received behavioral medicine

services at Recovery Resources in Cuyahoga County for approximately thirteen years. Maalik

often served as a Group Leader in this milieu. Maalik resided at The Villages of Riverside; a

property managed by CMHA. His address at the time of his death was 4624 West 174 th Street in

Cleveland, Ohio.

        47.    Maalik was a soft-spoken, courteous, well-mannered man loved by his family, his

Riverside neighbors, and fellow CSU students and professors. Maalik was single. He had no

children. He lived independently at CMHA without incident as a resident.

        48.    Maalik was a qualified individual with a disability under the Americans with

Disabilities Act, 42 U.S.C. § 12131.

        49.    Maalik’s mother, Kimberly, was her son’s sole support system throughout his

childhood and adulthood.


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        50.    Maalik’s father lived in Cleveland, Ohio, was not active in Maalik’s life, and he had

essentially abandoned Maalik. Maalik’s maternal Aunt, who also lived in Cleveland, Ohio, helped

Maalik when she could.

        51.    Maalik was a documented disabled resident of CMHA since approximately 2010-

2011. During his residency at CMHA, Maalik lived at three (3) different CMHA properties. Maalik

lived in two different high-rise buildings with older adults until 2015. In 2015, CMHA transferred

Maalik to a one-bedroom townhouse at The Villages of Riverside (“Riverside”), specifically on

Parkmount Avenue, Cleveland, Ohio. This was an all age, family community.

        52.    In 2019, Riverside completed renovations. Maalik was then transitioned from the

one-bedroom unit into a two-bedroom townhouse unit at Riverside, specifically at 4624 West 174 th

Street Cleveland, Ohio. Maalik was placed in a 2-bedroom unit, as single occupant, which was on

the main road of Riverside on 174th Street, a high-traffic street with more noise and distractions.

        53.    At all times relevant herein, CMHA was aware and on notice of Malik’s mental

health challenges which included schizophrenia and PTSD. This information was provided to

CMHA by Ms. Roquemore at CMHA’s request during the resident housing qualification process.

        54.    Ms. Roquemore made it a point to provide CMHA with relevant records

documenting Maalik’s mental health challenges. It is unknown at this time, what if any, mental

health information was shared about Maalik internally, within the CMHA organization and the

CMHA police department.

        55.    In 2009 Maalik graduated from high school and he was a productive member of

society. In 2014 Maalik graduated from Cuyahoga Community College’s CNC Machinist Program.

Maalik then worked as a CNC Machinist Level 1 operator making intricate, commercial airplane

parts in Cleveland, Ohio. In 2018, Maalik also graduated from barber school in Cleveland, Ohio.


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          56.    As noted, Maalik’s ultimate career goal was to become a Registered Nurse (RN)

specializing in behavioral health. Maalik’s goal was to help others living with mental illness and

mental health issues.

          57.    At the time of his death, Maalik had already been recognized for his high academic

achievements by the CSU National Society of Leadership and Success (NSLS) with cumulative

GPAs of 3.85-3.96. In a 2023 induction ceremony, Maalik’s mother received the honor on behalf

of Maalik and his family.

                MAALIK’S MENTAL HEALTH CRISIS ON SEPTEMBER 5, 2022

          58.    In the early hours of September 5, 2022, Maalik was experiencing a mental health

crisis at the CMHA housing complex in which he resided.

          59.    At about 12:37 am, Officer Ragland responded to a radio dispatch complaint of

loud noise at the same apartment complex.

          60.    As Officer Ragland drove into the apartment complex in his CMHA PD car, he

stated, “There’s a male over here. Get the fuck out the way!” Maalik was shadowboxing and

displaying internally stimulated and exaggerated behaviors, per the witnessing bystanders. Officer

Ragland saw Maalik.

          61.    On a personal phone call in the cruiser, a distracted Officer Ragland saw Maalik

standing in Maalik’s front courtyard near Maalik’s front door. Officer Ragland told the party on

the personal phone call that he questioned what the male wanted and who was flagging him down. 1

         62.     Maalik was wearing a white T-shirt, pajama pants, and white tube socks covering

both lower legs and not wearing any shoes. Maalik was unarmed.




1
 After the incident, Officer Ragland declared that he did not know whether Maalik’s attempt to flag down the police
car was connected to the loud noise complaint
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         63.     Maalik was obviously amid a mental health crisis and was acting erratically. A

reasonably trained police officer would clearly understand, and it would be reasonably apparent to

an officer, that the man before them was suffering from an adverse mental health crisis.

         64.     Officer Ragland, seeing Maalik, stopped his patrol car, opened his driver’s side

door, and faced Maalik. A tussle ensued, and Officer Ragland stated, “Motherfucker!” Maalik used

a distressed tone of voice indicating a mental crisis by saying in an exaggerated manner and voice,

“Nope! Nope! Nope!” repeatedly in a child-like voice. Officer Ragland commented that Maalik

“was mental”

         65.     With his police car door open on the driver’s side, Officer Ragland grabbed his

Taser and fired a single Taser cartridge at Maalik, striking Maalik with one Taser prong in the left

chest. Officer Ragland, however, struck himself with the Taser in his left index finger. Officer

Ragland then dropped the Taser, abandoning all other forms of non-lethal force despite stating after

he killed Maalik that he recognized and understood that Maalik “was mental”.

         66.     Maalik disengaged from Officer Ragland.

         67.     Officer Ragland did not make any attempt to further de-escalate, disengage, retreat,

or call for backup assistance to help him deal with Maalik, who was clearly in the midst of a mental

health crisis.

         68.     Officer Ragland never remained in his patrol car to use his microphone to address

Maalik through the police vehicles outside speaker.

         69.     Maalik ran around the police car, beginning at the front of the police car. In

response, Officer Ragland drew his service weapon and cut Maalik off as he rounded the police

car. Maalik retreated into a grassy area. Despite this retreat, Officer Ragland verbally ordered

Maalik to stay away.


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         70.    Officer Ragland then used additional excessive force and fired one 9mm round

directly into Maalik, striking him in the left hip and severely wounding and disabling Maalik.

         71.    Despite the fact that Maalik was not a threat to Officer Ragland, he fired another

9mm round striking Maalik a second time in the left, anterior chest area. This shot severely

diminished the function and capacity of both of Maalik’s lungs. Maalik fell to the ground, wailing

in agony while trying to stand up, but he collapsed on his left side with agonal breathing.

         72.    Officer Ragland proceeded to handcuff Maalik’s hands behind his back, then went

to his police car to retrieve a first aid kit.

         73.    Officer Ragland then gratuitously and deliberately added to Maalik’s severe pain

and suffering by dragging the handcuffed Maalik on his stomach from the grass to the cement

using the handcuffs as a handle.

         74.    Maalik gasped, “I can’t breathe!”

         75.    A bystander pleaded with Officer Ragland for permission to help as Maalik was

profusely bleeding from the gunshot wounds to his left anterior chest and left hip. The bystander

explained that he was a Certified Nursing Assistant (I), and he could see that Maalik was actively

dying. The bystander pleaded with Officer Ragland to remove the handcuffs from Maalik as

Maalik continued to pose no real threat. Officer Ragland refused the bystander’s effort to assist

with medical aid to Maalik, who was struggling to breathe while bleeding out from gunshot

wounds in his chest and hip, all while his hands were cuffed behind his back.

         76.    Officer Ragland deliberately failed to render comfort and effective aid to Maalik.

Instead, Officer Ragland continued to flash a flashlight on Maalik’s face and turned Maalik from

a supine to a side-lying position while stating, “I don’t see where I shot him.” Maalik’s white T-

shirt was soaked with blood as Officer Ragland searched for weapons despite Maalik’s clothing


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not having any pockets.

            77.    EMS was notified of the shooting via the county dispatch system after Officer

Ragland reported it. When EMTs arrived to assist Officer Ragland, he stated to the EMTs and

others nearby that “He was mental!” EMS has indicated that aid was rendered to Maalik at 00:45

hours (12:45 am). EMS records indicate a Bolin Chest Seal was applied. 2

            78.    When EMS Medic 43 arrived, Officer Ragland removed the handcuffs from

Maalik. The medics placed Maalik on a gurney and transported him to Fairview General Hospital.

            79.    After thirty (30) minutes of no signs of life during the resuscitative attempt by the

ED doctor, James Renuart (“Dr. Renuart”), and trauma staff, the resuscitative attempt was stopped.

Maalik was pronounced dead by Dr. Renuart at Fairview General Hospital at 1:35 a.m.

            80.    Maalik had, prior to this September 5, 2022, incident, been diagnosed with

schizophrenia and PTSD by a Cuyahoga County mental health agency. This fact was known to

CMHA on September 5, 2022, because Maalik’s mother had provided written documentation to

CMHA. CMHA was on notice and knew that Maalik was a resident of the CMHA community in

which he lived and that he had been diagnosed with a mental health condition.

            81.    Officer Ragland’s mandatory six-month Field Training began on March 14, 2022.

His Field Training ended prematurely (two months early) on July 8, 2022, due to the deliberately

indifferent policies, customs and practices and ratification by Chief Gonzáles, Deputy Chief

McDowell, Police Commander Burdyshaw, Police Field Training Officer Smiddy, CMHA, CMHA

PD and CEO Patterson who constructively and/or affirmatively condoned this institutional

behavior.

            82.    Had Officer Ragland been adequately and properly trained in CITT and received


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    There is no mention of this seal being applied in the Fairview Emergency Room Records.
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the required and complete six-month Field Training in which he would have been accompanied by

and supervised by a FTO on September 5, 2022, Maalik would not have suffered or be deceased.

         83.    Had Officer Ragland’s Field Training not been deliberately interrupted, Officer

Ragland would have had a partner, Police Field Training Officer Smiddy and/or other John Doe

Field Training Officers partnering with him on September 5, 2022. Officer Ragland would have

then been coached by an adequately trained Crisis Intervention Trained Officer or Field Training

Officer and there would not have been a fatal and tragic outcome.

         84.    Had Officer Ragland been accompanied by a Field Training Officer or CITT Officer

on September 5, 2022, to monitor and supervise Officer Ragland, there would have been a different

interaction among officers that did not result in injury or death to Maalik.

         85.    There is no record of Officer Ragland being re-evaluated for use of a firearm while

on duty, as CMHA PD policy indicated he should have been. Furthermore, Officer Ragland’s

background at the time of his hiring included CMHA and CMHA PD, knowing he used violence

against a past girlfriend, causing indirect injury to her face.

         86.    CMHA and CMHA PD deliberately failed to provide Officer Ragland with

adequate crisis intervention training before placing him alone (in a one-man zone car) and within

a predominantly Black community, which CMHA, CMHA PD and the remaining Defendants

herein knew to have a high concentration of citizens with psychological abnormalities and mental

health disabilities.

         87.    In short, CMHA and CMHA PD deliberately, with indifference, disregarded the

fundamentals of community policing and training. In doing so Defendants created and perpetuated

an underserved resident population.

         88.    It was foreseeable that CMHA PD officers would, as part of their routine duties,


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encounter people in a mental crisis as they did with Maalik.

        89.    The training and supervision shortcomings of CMHA and CMHA PD are exactly

the type of custom and/or policy that violates constitutional protections because they are a moving

force underlying constitutional protections.

        90.    This failure to adequately train in crisis intervention and cease field training

demonstrates a pattern and practice of CMHA and the CMHA PD.

        91.    CMHA and CMHA PD failure to adequately train and supervise officers, and to

shorten the field training of officers, constitutes customs or practices that are not written but which

are so pervasive and longstanding practices that they have the force of law.

        92.    According to CMHA PD (chapter 3.5) Crisis Intervention policy: “Members of the

department may take a person into temporary custody and deliver him to a medical facility upon

discovering an incident of threatened suicide, unfounded hostage situation, or the presence of

abnormal mental or psychologic behavior.”

        93.    In failing to train and supervise Officer Ragland, CMHA and CMHA PD

disregarded known and foreseeably obvious consequences of their actions’, as did Officer Ragland.

The consequence were the constitutional violations and the injuries and death to Maalik.

        94.    A similar constitutional pattern of violations within CMHA and the CMHA PD by

untrained police officers has historically existed within CMHA and/or the County. This is in part

due to an official policy, practice and custom to shorten the Field Training with respect to de-

escalation techniques, improper training in crisis intervention and in managing CMHA residents

and individuals in a mental crisis.

        95.    Those individuals from CMHA and CMHA PD who were involved in failing to

train and failing to supervise roles for CMHA PD are Chief González, Deputy Chief McDowell,


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Police Commander Burdyshaw, Police FTO Officer Smiddy, CEO Patterson and John Does I-X.

        96.     These Defendants were personally involved in the deprivation of Maalik’s

constitutional rights because each condoned, encouraged or knowingly acquiesced in the decision

to fail to train and supervise Officer Ragland. Their actions constitute more than mere awareness

of incomplete training and supervision of Officer Ragland. Their actions constitute a final

coordinated policymaking effort as demonstrated by the Field Commander Evaluation of Officer

Ragland #57 memorandum.

        97.    This document was created in the ordinary course of business by CMHA PD staff.

Chief González, Deputy Chief McDowell, Police Commander Burdyshaw, Police FTO Smiddy,

CEO Patterson and John Does I-X had actual or constructive notice that the policy and custom of

creating an abbreviated and incomplete officer Field Training program would cause CMHA PD

officers (including Officer Ragland) to be tactically inexperienced when working alone (without

supervision) and inadequately trained in the management of an individual exhibiting abnormal

mental or psychologic behavior and mental health crisis and that this failure to train and to

supervise would cause officers to violate an individual’s constitutional rights.

        98.    Had the full field training program been completed, by Officer Ragland and his

supervisors together, Officer Ragland would not have been working alone and untrained. Officer

Ragland would have had the benefit of an additional trained Field Training Officer when

encountering Maalik and he would not be the victim of Officer Ragland.

        99.    Defendants abbreviated training to prematurely place Officer Ragland in active

service as a one-man unit in part, due to a police staffing shortage for the Night Shift, D-Platoon.

                              CMHA COMMUNITY POLICIES

        100. The CMHA policies identified herein include but are not limited to those policies


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which were in place on September 5, 2022, to meet CMHA’s 2018-2023 written Strategic Plan

goals. The Strategic Plan and policies applied to Maalik as a CMHA resident.

        101. The CMHA policies were in place to meet the written goals and promises of the

Strategic Plan and include but are not limited to policies that:

               Strengthen programming and opportunities to achieve empowerment and self-
                sufficiency for youth and adult residents of CMHA.
               Enhance resident safety, well-being, and independence through partnerships for
                employment, job training, education, health and other evidence-based supportive
                services.
               Provide quality customer service (police) consistent with Mission and Core
                Values.
               Invest in employees and strengthen track record for integrity, accountability and
                collaboration.
               Conduct CMHA business in an open and transparent manner that promotes
                accountability, responsibility, diversity and adherence to the highest ethical
                standards.
               Engage and collaborate with community stakeholders and partners to achieve the
                overall mission of the Authority.
               Lead, encourage and build partnerships with local, regional and national
                organizations to promote policies that build community; increase and enhance
                affordable housing options; and provide programs that reflect and support the
                needs of our communities and the customers we serve.
               Value community knowledge, needs and experiences by listening, learning and
                researching; and respond to issues compassionately, intelligently and intentionally.

        102. The policies in place for CMHA to meet these goals are inadequate.

        103. CMHA considers the CMHA PD a joint working obligor in the implementation of

its Strategic Plan.

        104. The inadequate CMHA policies on September 5, 2022, that were in place to meet

these written CMHA identified goals are consistent with the events leading to the death of Maalik.

        105. The inadequate CMHA policies are deliberately indifferent to the civil rights and

constitutional rights of CMHA residents, including Maalik.

        106. The inadequate policies of CMHA were a proximate cause of Maalik’s death as

they failed to address CITT and FTO training.
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           107. The inadequate CMHA policies were a moving force behind the constitutional

violation.

           108. The CMHA policies are inadequate because they fail to adequately address the

community need for officers to be educated in the forty (40) hour CITT course and they are

inadequate because they fail to require complete Field Training with a certified Field Training

Officer.

           109. Each policy in the CMHA Strategic Plan represents a combination of policy,

custom, and community practice, yet they remain inadequate.

                                      HARM TO PLAINTIFF

           110. Family members, including Maalik’s mother Ms. Roquemore, lost the consortium,

love, society, and affection of Maalik due to the Defendants’ actions.

           111. As a direct and proximate result of the conduct of the Defendants, Maalik suffered

pre-death agony, physical and mental injury, pain and suffering, emotional and psychological

trauma, and eventually died because of the use of force, Defendants’ actions and constitutional

violations.

           112. As a further direct and proximate result of Maalik’s wrongful death, Ms.

Roquemore, survivors, next of kin, and/or heirs have suffered permanent damages, including, but

not limited to, grief, depression, PTSD, and severe emotional distress. They have incurred funeral

bills and other expenses and will incur additional expenses in the future.

                                  FIRST CAUSE OF ACTION
               Excessive Force (And Failure to Train and Supervise 42 U.S.C. § 1983)

           113. Plaintiff adopts and incorporates herein by reference all claims, counts, allegations

explanations and averments contained in this Complaint, whether stated before or after this claim

or count, as if same were fully rewritten herein.
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          114. Defendants Officer Ragland, CMHA, CMHA PD, Chief González, Deputy Chief

McDowell, Police Commander Burdyshaw, Police FTO Officer Smiddy, CEO Patterson and John

Does I-X have, under color of law, deprived Maalik of rights, privileges, and immunities secured

to him by the United States Constitution, including the prohibition on unreasonable searches and

seizures contained in the Fourth and Fourteenth Amendments to the United States Constitution.

          115. Officer Ragland used excessive force when initially and thereafter encountering

Maalik who was unarmed and posing no threat to Officer Ragland. Officer Ragland used excessive

force with his Taser, handgun and tactics via his inadequate training.

          116. Officer Ragland was deliberately indifferent to Maalik and his mental crisis when

he initially and thereafter encountered Maalik and when he used unreasonable force against

Maalik.

          117. Chief González, Deputy Chief McDowell, Police Commander Burdyshaw, Police

FTO Officer Smiddy, CEO Patterson and John Does I-X as policymakers acted deliberately

indifferent when they deliberately and unreasonably intervened and acquiesced in Officer

Ragland’s truncated training process, that shortened his CITT and Field Training and cause a

significant deficiency in Officer Ragland’s tactical capabilities which was a proximate cause of

Maalik’s unnecessary death.

          118. CMHA, CMHA PD and John Does I-X deliberately failed to provide an adequate

policy applicable to first year officers and failed to train and failed to guide CMHA PD officers

when encountering CMHA residents with mental illness or abnormal mental or psychological

behavior, such as displayed by Maalik on September 5, 2022.

          119. CMHA, and CMHA PD, and John Does I-X failed to provide an adequate policy

for first year officers of de-escalating the mentally ill and provide a meaningful CITT and field


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training policy to guide officers who encounter mentally ill citizens such as Maalik.

        120. CMHA, CMHA PD and John Does I-X failure to train, supervise, and implement

constitutionally efficient customs and policies was deliberately indifferent to the rights of

individuals with mental illness, disabilities, and abnormal mental or psychological behavior, such

as Maalik.

        121. The failure to train and supervise officers regarding interacting with people with

disabilities and in a mental health crisis was deliberately indifferent to the rights of individual

residents likely to be encountered and seized.

        122. The rules, regulations, customs, policies, practices, usages, procedures, inadequate

training and supervision pursued by the Defendants were all inadequate and unreasonable and were

the moving force behind the constitutional deprivation suffered by Maalik.

                                SECOND CAUSE OF ACTION
                                     Wrongful Death

        123. Plaintiff adopts and incorporates herein by reference all claims, counts, allegations

and averments contained in this Complaint, whether stated before or after this claim or count, as

if same were fully rewritten herein.

        124. Defendants’ actions caused the wrongful death of Maalik, resulting in damages

recoverable under R.C. § 2125.02. and pre-death agony as well.

                               THIRD CAUSE OF ACTION
                       Americans with Disabilities Act (42 U.S.C. §12101)

        125. Plaintiff adopts and incorporates herein by reference all claims, counts, allegations

and averments contained in this Complaint, whether stated before or after this claim or count, as

if same were fully rewritten herein.

        126. The rendering of police services via CMHA constitutes a “service, program, or


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activity” of CMHA and Cuyahoga County within the meaning of Title II of the ADA.

         127. Defendants intentionally discriminated against Maalik or failed to provide him a

reasonable accommodation when they used unnecessary and excessive force against him because

of his disability, in violation of Title II of the Americans with Disabilities Act.

         128. The reasonable accommodations provision of Title II of the Americans with

Disabilities Act applies to common areas of CMHA residential properties.

                                    FOURTH CAUSE OF ACTION
                                       State Law Claim

         129.   Plaintiff adopts and incorporates herein by reference all claims, counts, allegations

and averments contained in this Complaint, whether stated before or after this claim or count, as

if same were fully rewritten herein.

         130. CMHA and CMHA PD owed a duty of reasonable care to Maalik.

         131. CMHA, CMHA PD, and their employees owed a duty to Maalik to develop and

implement effective safety and training policies, customs, practices and procedures.

         132. CMHA, CMHA PD and their employees identified herein breached the Strategic

Plan, duty to provide CITT and FTO training and their reasonable duty of care.

         133. Maalik’s death was caused by acts and omissions of CMHA, CMHA PD and the

employees identified herein during the course of their governmental or proprietary function.

         134. Each Defendant acted not only negligently but also with malicious purpose, in bad

faith, or in a wanton or reckless manner.

         135. As a direct and proximate result of the breach of this duty, Maalik was killed by

Officer Ragland and his family suffered as well as identified herein.

                                       PRAYER FO RELIEF

        WHEREFORE, Plaintiff demand judgment as follows:
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 A.    Compensatory damages against the Defendants in an amount to be shown at trial.

 B.    Punitive damages against the individual Defendants Officer Ragland, CMHA,
       CMHA PD, Deputy Chief McDowell, Police Commander Burdyshaw, Police FTO
       Smiddy, CEO Patterson in an amount to be shown at trial.

 C.    Costs incurred in this action and reasonable attorney fees under 42 U.S.C. § 1988.

 D.    Prejudgment interest.

 E.    A positive change in the CMHA Police training program that will ensure fully
       trained officers are placed on CMHA property and streets.

 F.    A positive change in CMHA policies underlying the Strategic Plan.
 G.    A publicly displayed plaque to be affixed in CMHA’s main headquarters and police
       headquarters, memorializing Maalik Roquemore and the importance of mental
       health education for every police officer patrolling every CMHA community.

 H.    Such other and further relief as this Court may deem equitable and just.

                                  JURY DEMAND

       Plaintiff requests a jury trial on all claims triable to a jury.

                                        Respectfully submitted,
                                        /s/ David B. Malik
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